          Case 4:21-cv-00113-LPR Document 4 Filed 06/25/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

GREGORY BARNES                                                                    PLAINTIFF

V.                               Case No. 4:21-cv-00113-LPR

DOE                                                                             DEFENDANT


                                           JUDGMENT

       Pursuant to the Order that was entered on June 25, 2021, it is considered, ordered, and

adjudged that this case is DISMISSED without prejudice. The Court certifies pursuant to 28

U.S.C. § 1915(a)(3) that an in forma pauperis appeal from the Order and Judgment dismissing this

action would not be taken in good faith.

       IT IS SO ADJUDGED this 25th day of June, 2021.


                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE
